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                            UNITED STATES DISTRICT COURT
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                           CENTRAL DISTRICT OF CALIFORNIA
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 10    EDWARD BUCK,                                Case No. 2:20-cv-7475-JGB (MAR)
 11                               Plaintiff,
 12                        v.                      ORDER ACCEPTING FINDINGS
                                                   AND RECOMMENDATION OF
 13                                                UNITED STATES MAGISTRATE
       MICHAEL CARVAJAL, ET AL.,                   JUDGE
 14
                                  Defendant(s).
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 17          Pursuant to 28 U.S.C. § 636, the Court has reviewed the Complaint, the
 18   relevant records on file, and the Report and Recommendation of the United States
 19   Magistrate Judge. The Court accepts the findings and recommendation of the
 20   Magistrate Judge.
 21         IT IS THEREFORE ORDERED that Judgment be entered dismissing this
 22   action without prejudice.
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 24   Dated: September 23, 2021
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 26                                            HONORABLE JESUS G. BERNAL
 27                                            United States District Judge
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